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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA
                                               Miami Division

   IN RE:                                           MDL No. 2599
                                                    Master File No. 15-2599-MD-MORENO
   TAKATA AIRBAG PRODUCTS
   LIABILITY LITIGATION


   THIS DOCUMENT RELATES TO:                        HONDA MOTOR CO., LTD. AND
                                                    HONDA R&D CO., LTD.’S JOINDER IN,
   PERSONAL INJURY TRACK CASES                      AND ADOPTION OF, HONDA
                                                    DEFENDANTS’ RULE 12(b) MOTION TO
                                                    DISMISS

   CLYDE K. CHAPMAN, et al.,                        S.D. Fla. Case No. 1:15-cv-22133-FAM
              Plaintiff,
       v.
   AMERICAN HONDA, et al.,
              Defendants.

   RAQUEL HUDSON, et al.,                           S.D. Fla. Case No. 1:15-cv-20666-FAM
             Plaintiff,
       v.
   AMERICAN HONDA, et al.,
             Defendants.

   DIANE L. MOULTON,                                S.D. Fla. Case No. 1:15-cv-20898-FAM
              Plaintiff,
        v.
   AMERICAN HONDA, et al.,
              Defendants.

   AMY C. PATTERSON,                                S.D. Fla. Case No. 1:15-cv-21572-FAM
              Plaintiff,
        v.
   AMERICAN HONDA, et al.,
              Defendants.

   MIGUEL A. MORALES RAMOS,                         S.D. Fla. Case No. 1:15-cv-20264-FAM
              Plaintiff,
        v.
   AMERICAN HONDA, et al.,
              Defendants.



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   ANGELINA C. SUJATA,                                   S.D. Fla. Case No. 1:15-cv-20664-FAM

                            Plaintiff,
       v.
   AMERICAN HONDA, et al.,
             Defendants.

   DIAZ VEGA,                                            S.D. Fla. Case No. 1:14-cv-24931-FAM
                            Plaintiff,
       v.
   AMERICAN HONDA, et al.,
             Defendants.

   CEDRIC WALTON,                                        S.D. Fla. Case No. 1:15-cv-21543-FAM
             Plaintiff,
        v.
   AMERICAN HONDA, et al.,
             Defendants.

   MARY LYON WOLFE,                                      S.D. Fla. Case No. 1:15-cv-20665-FAM
             Plaintiff,
       v.
   AMERICAN HONDA, et al.,
             Defendants.
                                                    /

               In accordance with the Stipulation Regarding Waiver of Service and Time to Respond to

   Complaint and Discovery (ECF 635), which was filed on July 28, 2015, Honda Motor Co., Ltd.

   and Honda R&D Co., Ltd. respond to the plaintiffs’ Second Amended Consolidated Personal

   Injury Track Complaint (ECF 578) by adopting and joining in the Honda Defendants’ Rule 12(b)

   Motion to Dismiss and Incorporated Memorandum of Law (ECF 621), which was filed on July

   17, 2015.




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   Dated: September 4, 2015


                                                Respectfully submitted,


                                                By: /s/ Marty Steinberg


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   Attorneys for Defendants,
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   American Honda Motor Co., Inc., and Honda of America Manufacturing Inc.


                                        CERTIFICATE OF SERVICE

               I hereby certify that on September 4, 2015, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF. I also certify the foregoing document is being served

   today on all counsel of record in this case via transmission of a Notice of Electronic Filing

   generated by CM/ECF.

                                                             /s/ Marty Steinberg
                                                             Marty Steinberg




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